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AO 91 (Rev. 11/11} Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

United States of America )
v.
Jose Antonio IBARRA-Vasquez Case No
)
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 25, 2023 in the county of Webb in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
8 USC 1326 A citizen of Mexico, who has previously been REMOVED or has departed the United

States while an order of REMOVAL is outstanding was thereafter found in the United
States in or near Laredo, Texas the said Defendant having not obtained the consent of the
Attorney General of the United States (prior to March 1, 2003) or of the Secretary of the
Department of Homeland Security (March 1, 2003 and thereafter- Title 6, United States
Code, Sections 202 and 557) for the reapplication by the said Defendant for admission into
the United States.

This criminal complaint is based on these facts:

Continued on Affidavit

[V |Continued on the attached sheet.

/S/Aaron Gonzalez

Complainant's signature

Aaron Gonzalez Border Patrol Agent
Printed name and title

Sworn to before me and signed in my presence,

Date: February 02, 2023

Judge 's signature

City and state: Laredo, Texas Christopher dos Santos _U.S. Magistrate Judge
Printed name and title

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AFFIDAVIT

In support of Criminal Complaint

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
Vv.
Jose Antonio IBARRA-Vasquez Case Number:

On or about January 25, 2023, the defendant Jose Antonio Ibarra-Vasquez was apprehended in Laredo, Texas. After a brief
interview it was determined that, Jose Antonio Ibarra- Vasquez was an undocumented alien from Mexico and subsequently placed
under arrest. Further investigation revealed that Jose Antonio Ibarra- Vasquez was previously removed from the United States on
February 11, 2016, in Del Rio, Texas.

Jose Antonio Ibarra- Vasquez was detained by Laredo Police Department during a knock and talk on the 1600 block of Lincoln
Street. Jose Antonio Ibarra-Vasquez was taken into custody by Laredo Police Department and charged with Tamper Fabricate
Physical Evid W/Intent to Impair and Man/Del CS PG 1> = 4G <200G. A detainer was faxed to Webb County Jail for Jose Antonio
Ibarra-Vasquez.

SUBSCRIBED and SWORN to before me on

2nd day of February, 2023

/S/ Gonzalez, Aaron Border Patrol Agent

Signature of Judicial Officer Signature of Complainant
